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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 GLENN WASHINGTON                                      *           CIVIL ACTION NO.:
                                                       *           2:22-04054
 VERSUS                                                *
                                                       *
                                                       *           CHIEF JUDGE
 SAFEPOINT INSURANCE COMPANY                           *           NANNETTE JOLIVETTE
                                                       *           BROWN
                                                       *
                                                       *           MAGISTRATE JUDGE
                                                                   DONNA PHILLIPS
                                                                   CURRAULT
 ***************************                           *

            MOTION TO CONTINUE TRIAL AND PRE-TRIAL DEADLINES

       NOW INTO COURT, through undersigned counsel, comes Defendant, Safepoint

Insurance Company (“Safepoint”), who respectfully requests an Order from this Honorable Court

to Continue the Trial Date and Pre-Trial Deadlines due to Plaintiff’s continual delay and failure to

complete discovery. The reasons in support of this Motion are more fully described in the

Memorandum in Support filed herewith.

       WHEREFORE, Defendant, Safepoint Insurance Company (“Safepoint”), prays that this

Court grant its Motion to Continue Trial and Pre-Trial Deadlines and issue an Order granting the

relief requested.




                                 [Signature block on the following page.]
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                                               Respectfully submitted,

                                               BLUE WILLIAMS, L.L.C.

                                               /s/ John A. Doran
                                               ____________________________________
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                                               Attorneys for Defendant,
                                               Safepoint Insurance Company


                                       CERTIFICATE

       I HEREBY CERTIFY that the above and foregoing was electronically filed with the

Clerk of Court of the Eastern District of Louisiana by using the CM/ECF system, which will send

a notice of electronic filing to all counsel of record, on this day of January, 2024.




                                                    /s/ John A. Doran
                                                   NICHOLAS P. ARNOLD
                                                   JOHN A. DORAN
